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                     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT


ICE Directive 4007.1:                  Records and Information Management

                                       Issue Date: January 25, 2021
                                       Superseded: None.
                                       Federal Enterprise Architecture Number: 306-112-002b

1.       Purpose/Background. U.S. Immigration and Customs Enforcement (ICE) has the
         responsibility to effectively and efficiently manage all its records to meet the agency’s
         strategic goals and mission requirements. This Directive establishes ICE policy and
         procedures for governing the management of records regardless of form or
         characteristics, created or received by ICE, consistent with Department of Homeland
         Security (DHS) policy and guidance. The preservation of all ICE records must be done in
         accordance with applicable laws, regulations, and policies.1

2.       Policy. All ICE employees and contractors are required to adequately maintain, identify,
         capture, retain, file, dispose, and transfer all ICE records within their respective
         Directorate or Program Office. All ICE records are required to be preserved
         appropriately, easily accessible, and dispositioned at the end of their lifecycle. This
         includes all ICE records created or received in the course of conducting ICE business,
         including email, according to applicable federal and DHS regulations. All ICE records,
         either electronic or hardcopy, must be maintained and stored in a centralized electronic
         records repository in accordance with records schedules approved by ICE’s Office of
         Information Governance and Privacy (IGP) Records and Data Management Unit (RDM)
         and the National Archives and Records Administration (NARA).2

3.       Definitions. The following definitions apply for purposes of this Directive only.

3.1.     Capstone. Identification and capture of email records that should be preserved as
         permanent from the accounts of designated senior officials at or near the top of an agency
         who are generally responsible for agency and program policy and mission-related actions.

3.2.     Disposition. Actions taken when records are no longer needed to conduct current agency
         business, which include disposal or permanent preservation.

3.3.     Essential Record. Information that is essential to the continued functioning or
         reconstitution of an organization during and after an emergency and also essential to

1 See 44 U.S.C. §§ 3102 – 07 and U.S. Dep’t of Homeland Sec., DHS Directive No. 141-01, Records and Information
Management (Aug. 11, 2014).
2 There are three types of records: temporary, permanent, and unscheduled. Temporary records are those determined by NARA to

be destroyed at the end of their lifecycle. Permanent records are determined by NARA to have sufficient value to continue
preservation as part of the National Archives. Records that do not fall under a NARA-approved records schedule cannot be
legally destroyed or transferred for storage. Unscheduled records are considered permanent until a records schedule is approved
by NARA. More information regarding ICE adherence to records schedules can be found in the accompanying Handbook.
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           protecting the rights and interests of that organization and of the individuals directly
           affected by its activities.

3.4.       Essential Records Manager. Serves as the individual responsible for coordinating the
           agency’s Essential Records Program and Plan.

3.5.       Essential Records Plan. Guidance that identifies records critical to continued agency
           operations in the event of an emergency and ensures that records are adequately protected
           and accessible.

3.6.       Headquarters Responsible Officials (HROs). Executive Associate Directors (EADs)
           of Enforcement and Removal Operations, Homeland Security Investigations, and
           Management and Administration (M&A); the Principal Legal Advisor; the Associate
           Director of the Office of Professional Responsibility; and the Assistant Directors,
           Officers, or equivalent positions who report directly to the Director, Deputy Director, or
           Chief of Staff.

3.7.       Permanent Records. Records appraised by NARA as having sufficient historical or
           other value to warrant continued preservation by the Federal Government beyond the
           time it is needed for administrative, legal, or fiscal purposes.

3.8.       Records. All recorded information made or received by a Federal agency under Federal
           law or in connection with the transaction of public business and preserved or deemed
           appropriate for preservation by that agency or its legitimate successor as evidence of the
           organization, functions, policies, decisions, procedures, operations, or other activities of
           the United States Government or because of the informational value of data they contain.
           Records do not include: library and museum material made or acquired and preserved
           solely for reference or exhibition purposes, or duplicate copies of records preserved only
           for convenience.3

3.9.       Records Assistants (RAs). Representatives within a Directorate or a Program Office
           responsible for assisting the Records Liaison Officers (RLOs) with day-to-day records
           management activities.

3.10. Records Liaison Officers (RLOs). Designated representative responsible for overseeing
      records management activities within a Directorate or Program Office and coordinating
      those activities with RDM.

3.11. Records Schedule. A set of instructions that provides the legal authority for retention
      and disposition of records grouped together in a series. It is used to indicate the length of
      time records must be maintained, identifies records as either permanent or temporary, and
      provides mandatory instructions for the disposition of records. It may also be referred to
      as a retention schedule.


3   See 44 U.S.C § 3301.
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3.12. Temporary Records. Records approved by NARA to be disposed of after a specified
      period.

4.     Responsibilities.

4.1.   HROs are responsible for ensuring compliance with this Directive within their
       Directorates and Program Offices, including the designation of RLOs and RAs.

4.2.   The ICE Records Officer is responsible for:

       1) Overseeing, developing, issuing, and implementing ICE-wide records management
          policy and procedures;

       2) Conducting site assessments and compliance visits of Directorates and Program
          Offices to include all ICE facilities—regardless of whether they are controlled by the
          Government or by non-government entities (e.g., detention facilities owned and/or
          operated by contractors)—to evaluate record-keeping practices and provide guidance
          and feedback concerning any risks or vulnerabilities that may exist;

       3) Developing and implementing records management training;

       4) Coordinating with the Office of the Chief Information Officer (OCIO) to ensure that
          electronic records management considerations for systems access and security
          controls are implemented;

       5) Developing and implementing the Essential Records Plan; and

       6) Establishing procedures and guidance for email records, to include Capstone.

4.3.   OCIO is responsible for coordinating with the RDM basic framework for electronic
       records management storage that enables ICE employees and contractors to follow
       records management policies.

4.4.   The Essential Records Manager is responsible for coordinating the agency’s Essential
       Records Program, developing and maintaining ICE’s Essential Records Plan,
       coordinating agency inventory of essential records, outlining measures to protect them,
       and annually conducting an Essential Records Risk Assessment. The Essential Records
       Manager periodically tests emergency plans and procedures to determine whether
       essential records are properly identified, protected, and managed, and also modifies plans
       and procedures when needed.

4.5.   RLOs are responsible for:

       1) Assisting RDM with coordination and implementation of records policies and
          procedures within specific Directorates and Program Offices;


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       2) Conducting an annual records inventory;

       3) Ensuring that office records are managed pursuant to DHS, ICE, NARA, and Office
          of Management and Budget policies, as well as applicable laws and regulations; and

       4) Ensuring that all Directorate and Program Office recordkeeping procedures are
          established, implemented, and periodically updated for all electronic and hardcopy
          records.

4.6.   RAs are responsible for assisting the RLO in coordinating RIM activities for the
       Directorate or Program Office, including managing the transfer and retrieval of program
       records to or from storage facilities, the creation of box lists documenting the records
       maintained in storage, and assisting with the management of paper and electronic filing
       systems that may exist within the Directorate, the Program Office or its sub-divisions.
       RA functions are a secondary duty. Directorate or Program Office leadership will assign
       these duties as needed.

4.7.   ICE Employees and Contractors are responsible for:

       1) Complying with the terms of this Directive;

       2) Transferring ICE records upon departure or separation and complying with the
          mandate to not exit with any records without prior approval from the Records Officer;

       3) Working with their Directorate or Program Office’s RLO and/or RA to maintain,
          store, transfer, and/or dispose of records in accordance with law and policy; and

       4) Completing annual records management training.

5.     Procedures/Requirements. See the most current version of the Records and
       Information Management Handbook for implementing guidance and procedures.

6.     Recordkeeping. All records created by the RDM will be maintained in accordance with
       a NARA approved retention schedule.

7.     Authorities/References.

7.1.   5 U.S.C. § 552(a), (g).

7.2.   44 U.S.C. §§ 3101 – 07.

7.3.   44 U.S.C. § 21.

7.4.   44 U.S.C. § 29.

7.5.   36 C.F.R. §§ 1220.1 – 1239.26.

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